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September 2, 2022
VIA ECF
The Honorable James Donato
United States District Judge for the Northern District of California
450 Golden Gate Avenue, Courtroom 11, 19th Floor
San Francisco, CA 94102
Re:     Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD
Dear Judge Donato:
        Meta moves to compel the production of certain documents from non-party Alpha
Exploration Co. (d/b/a Clubhouse). Clubhouse is an online application where users orally
communicate with friends and those with shared interests. It is important to this case: its recent
entry followed by its amassing of tens of millions of users contradicts Plaintiffs’ allegations that
Meta’s conduct created “[h]igh barriers to entry” that “make it unlikely, at any time in the
foreseeable future, for a competitor to enter or take away” from Meta’s purported market share.
Klein Dkt. 87 ¶ 263. However, instead of working with Meta to produce documents, Clubhouse
has engaged in a letter-writing campaign of obfuscation and threats, and it is only after repeated
attempts to confer and resolve the issue that Meta must send the extant letter brief.
        Meta served its subpoena on Clubhouse six months ago.1 From the start, Meta told
Clubhouse that it would work with the company to reduce any burden. Since then, Meta has offered
to meet and confer eight times, has four times extended the deadline by which Clubhouse was
required to respond to Meta’s subpoenas, and suggested in-person meetings with counsel for
Clubhouse (both the undersigned and Clubhouse’s counsel are based in NYC). Meta has provided
many examples of the types of documents it would consider responsive to its requests. In an
attempt to work with Clubhouse, Meta has substantially narrowed its subpoena, categorizing a
subset of its requests into four “buckets” and telling Clubhouse that conducting a reasonably
diligent search for documents and producing any responsive documents it found with regard to
each bucket would satisfy all requests falling within that bucket.
        But at every turn, Clubhouse refused to engage with Meta, claiming undue burden—
notwithstanding retaining a white-shoe law firm and having hundreds of millions in funding and a
$4 billion valuation. Clubhouse repeatedly demanded that Meta withdraw the subpoenas in full,
insisted that Meta preemptively assume any costs incurred by Clubhouse, and threatened sanctions
if Meta did not comply with its demands. After months of delay, Clubhouse finally agreed to search
for and produce documents responsive to Meta’s four categories. Three weeks later, Clubhouse
reported it had identified only 13 documents, but refused to produce them all and demanded Meta
pay Clubhouse tens of thousands of dollars in fees before it produced anything (though Clubhouse
has provided no evidence regarding the significance of the fees or how they were incurred).
        The Court should order Clubhouse to (1) produce all documents (including the two reports
on competition) it has already offered; and (2) require Clubhouse to describe the searches it has
conducted and conduct additional targeted searches (including in custodial files) for documents

1
 Meta served and is moving to compel and transfer a parallel subpoena to Clubhouse in FTC v. Meta Platforms, Inc.,
No. 1:20-cv-03590-JEB (D.D.C.). See Meta Platforms, Inc. v. Alpha Exploration Co, Inc., No. [INSERT] (N.D. Cal.),
Dkt. Nos. [TK], [TK].
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Clubhouse to produce the documents it has found and to conduct targeted custodial searches of
employees involved in competitive decision-making for documents responsive to this category.
        Category 2: Policies or Practices Surrounding Paying for User Data (RFP No. 17)
        Meta’s second category seeks to understand if Clubhouse has considered paying users for
their data (and the rationale for doing this). This is relevant to Users’ far-fetched theory that
applications would pay users to use them but for Meta’s conduct. Clubhouse has stated it searched
for documents and has never considered paying users for data. Meta requests the Court compel
Clubhouse to describe its search and, if no documents exist, provide a statement to that effect.
        Category 3: Privacy/Data Collection Policies and Practices (RFP Nos. 7, 10, 19, 32)
        Meta sought Clubhouse’s privacy policies (Clubhouse produced nine, comprising nine of
the 13 documents produced), and documents regarding its strategic approach to implementing
those policies. The information Meta seeks addresses Users’ other far-fetched theory of
competitive injury: that “users chose Facebook over other competing networks due to Facebook’s
stated commitment to its users’ privacy,” Klein, Dkt. 87 ¶ 3, and that Meta allegedly maintained
its monopoly based on “deceptive privacy practices,” id. ¶ 157. Clubhouse’s views on whether its
privacy practices create a competitive advantage relate to Meta’s defense, especially given
Clubhouse’s growth despite reports that it may not have been adequately protecting its users’ data.2
        Category 4: Time Spent/User Engagement Data (RFP Nos. 24, 38)
        Meta sought any user engagement metrics that Clubhouse tracks because Users may seek
to calculate market share using those metrics. Clubhouse said it tracks Daily and Monthly Active
User counts and produced this data. Meta asked if Clubhouse tracked any other metrics (e.g., time
spent using the app). Clubhouse refused to respond. User engagement data is relevant because
Users claim that Meta’s alleged monopoly sucked up, and allowed it to unfairly profit off of, users’
time and attention. See, e.g., Klein Dkt. 87 ¶ 95. If Clubhouse does not track other engagement
metrics, it must so state; otherwise, this Court should order Clubhouse to produce responsive data.
III.    Clubhouse Is Not Entitled to Fees
        Clubhouse’s demand that it be compensated before producing documents is wrong. Cost-
shifting is appropriate only after the party has complied with the subpoena. Fed. R. Civ. P.
45(d)(2(B)(ii), advisory committee notes to 1991 amendments (preference “to leave uncertain
costs to be determined after the materials have been produced”). Clubhouse has not yet complied.
Further, it is Clubhouse’s burden to demonstrate that “all of their requested attorney’s fees are
reasonable,” and that those “significant expenses result[ed] from compliance.” See United States
v. McGraw-Hill Cos., Inc., 302 F.R.D. 532, 536-37 (C.D. Cal. 2014) (“Unnecessary … services
do not ‘result from compliance.’”). Clubhouse’s demand to be compensated does not appear to
have been incurred in complying with the subpoena given its minimal productions, and if they are
incurred from compliance its resources render those expenses insignificant.3 And regardless,
Clubhouse’s demands to date are premature. The Court should not shift Clubhouse’s costs to Meta.

2
  Cable et al., Clubhouse in China: Is the Data Safe?, STANFORD INTERNET OBSERVATORY (Feb. 12, 2021), https://
cyber.fsi.stanford.edu/io/news/clubhouse-china.
3
  Mike Butcher, Clubhouse Closes an Undisclosed $4B Valuation Series C Round, As Tech Giants’ Clones Circle,
TECHCRUNCH (Apr. 19, 2021), https://techcrunch.com/2021/04/19/clubhouse.
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                                      Respectfully submitted,
                                      By: /s/ David Z. Gringer
                                          WILMER CUTLER PICKERING HALE
                                          AND DORR LLP
                                          Attorneys for Defendant Meta Platforms, Inc.
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                                        ATTESTATION

       I, Sonal N. Mehta, attest that all other signatures listed, and on whose behalf the filing is

submitted, concur in the filing’s contents and have authorized the filing.

                                                        /s/ Sonal N. Mehta
                                                         Sonal N. Mehta
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of September, 2022, I transmitted the foregoing

document to the Clerk’s Office using the CM/ECF System, and to counsel for Alpha Exploration

Co., Inc., d/b/a Clubhouse via Federal Express Overnight Mail.

                                                     /s/ Sonal N. Mehta
                                                      Sonal N. Mehta
